              Case 4:06-cr-40004-JPG                     Document 262 Filed 12/20/07                  Page 1 of 6         Page ID
%A0 245B      (Rev. 06/05) Judgment in a Criminal Case             #655
              Sheet 1




                       SOUTHERN                                  District of                                  ILLINOIS

         UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                             v.
              JONATHON M. COLESON                                        Case Number:           4:06CR40004-006-JPG

                                                                         USM Number: 07368-025
                                                                          Susan Gentle
                                                                         Defendant's Attorney
THE DEFENDANT:
&ifpleaded guilty to count(s)
  pleaded nolo contendere to count(s)                                                                                     T

  which was accepted by the court.                                                                                        f

  was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                       Offense Ended               Count
 23 "U,SC.'$46                     Comspira~ybWlan~facture& &Distribute 500 Grams oh More                  9119/2086                   issss ,   '




                                   of a mixture & Substance Containing Methamphetamine



       The defendant is sentenced as provided in pages 2 through             10          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s)                                                 is       are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the Unjted States attomey for this dlstrict within 30 da s of any change of name, residence,
or mailing address until.al1 fines, resbtution,.costs,and special assessmeqts imposed by this judgment are fu8y paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economc circumstances.




                                                                          J. Phil Gilbert                             District Judge
                                                                         Name of Judge                               Title of Judge
                                                                                  A
                 Case 4:06-cr-40004-JPG                 Document 262 Filed 12/20/07                     Page 2 of 6       Page ID
A 0 245B      (Rev. 06/05) Judgment in Criminal Case              #656
              Sheet 2 - Imprisonment

                                                                                                        Judgment - Page    2   of   10
DEFENDANT: JONATHON M. COLESON
CASE NUMBER: 4:06CR40004-006-JPG


                                                               IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

  115 months on Count 1 of the 4th Superseding Indictment



      @ The court makes the following recommendations to the Bureau of Prisons:
 That the defendant be placed in the Intensive Drug Treatment Program.



          The defendant is remanded to the custody of the United States Marshal.

          The defendant shall surrender to the United States Marshal for this district:

                at                                      a.m.         p.m.     on
                as notified by the United States Marshal.

          The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                before 2 p.m. on
                as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
I have executed this judgment as follows:




           Defendant delivered on                                                          to

 at                                                    , with a certified copy of this judgment.



                                                                                                      UNITED STATES MARSHAL


                                                                            BY
                                                                                                   DEPUTY UNITED STATES MARSHAL
                 Case 4:06-cr-40004-JPG                  Document 262 Filed 12/20/07                     Page 3 of 6         Page ID
              (Rev. 06/05) Judgment in a Criminal Case
                                                                   #657
A 0 245B
              Sheet 3 - Supervised Release
                                                                                                            Judgment-Page       3     of        10
 DEFENDANT: JONATHON M. COLESON
 CASE NUMBER: 4:06CR40004-006-JPG
                                                         SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of

  10 years on Count 1 of the 4th Superseding Indictment



      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Pnsons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawhll possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall su%mit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
 B( The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgrnent imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule o i ~ a ~ m e nsheet
                          t s of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any adhtional conditions
 on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
   1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month;
   3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, d~stribute,or adrmnister any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the protation officer;
  10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit ~ o ~ s c a t i of
                                                                                                                                                o nany
           contraband observed in plaln view of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
  13)      as directed by the robation officer, the defendant shall notify .thirdparties of risks that may be occasioned by the defendant's criminal
           record or ?ersonaY history or characterist~csand shall pemut the probation officer to make such notifications and to confirm the
           defendant s compliance with such notification requirement.
A 0 245B     Case
           (Rev.      4:06-cr-40004-JPG
                      . Judgment
                 06/05)    -     in a Criminal Case   Document 262 Filed 12/20/07        Page 4 of 6        Page ID
           sheet 3C - Supervised Release                        #658
                                                                                            Judgment-Page       4   of    10
DEFENDANT: JONATHON M. COLESON
CASE NUMBER: 4:06CR40004-006-JPG

                                        SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall cooperate in the collection of DNA as directed by the probation officer.

 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 or ten
 percent of his net monthly income, whichever is greater.

 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.
 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and/or any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 X Due to the defendant's substance abuse history, he shall participate as directed and approved by the probation officer in
 treatment for narcotic addiction, drug dependence, or alcohol dependence, which includes urinalysis or other drug
 detection measures and which may require residence and/or participation in a residential treatment facility. Any
 participation will require complete abstinence from all alcoholic beverages. The defendant shall pay for the costs
 associated with substance abuse counseling and/ or testing based on a co-pay sliding fee scale approved by the United
 States probation Office. Co-pay shall never exceed the total costs of counseling. The number of tests shall not exceed 52
 in a one year period.

 X The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search,
 conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
 reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
 may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
 search pursuant to this condition.

  IXI Defendant shall submit within 15 days, not to exceed 52 tests in a one year period for drug urinalysis.
A 0 245B      Case
           (Rev. 06/05) 4:06-cr-40004-JPG
                        Judgment in a Criminal Case   Document 262 Filed 12/20/07                          Page 5 of 6       Page ID
           sheet 5 - criminal Monetary Penalties                #659
                                                                                                       Judgment-Page         -
                                                                                                                             F;   of      ."
                                                                                                                                         ln
DEFENDANT: JONATHON M. COLESON
CASE NUMBER: 4:06CR40004-006-JPG
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                         -
                                                                         Fine                                  Restitution
 TOTALS           $ 100.00                                             $ 200.00                              $ 0.00



     The determination of restitution is deferred until              . An Amended Judgment in a Criminal Case(A0 245C) will be entered
     after such determination.

     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned .ayment, unless specified otherwise @
     the pnonty order or percentage payment column%elow. However, pursuant to 18 J s . 8 . 5 36640, all nonfederal vlctims must be paid
     before the United States is pald.

Name of Payee                                                             Total*                Restitution Ordered Prioritv or Percentage




TOTALS                              $                         0.00            $                       0.00


      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

8( The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      @f   the interest requirement is waived for the        @( fine          restitution.
           the interest requirement for the           fine           restitution is modified as follows:


* Findings for the total amount of losses are re uired under Chapters 109A, 110,11OA, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 199%.
A 0 245B      Case
           (Rev. 06/05) 4:06-cr-40004-JPG
                        Judgment in a Criminal Case     Document 262 Filed 12/20/07                  Page 6 of 6          Page ID
           Sheet 6 - Schedule of Payments                         #660
                                                                                                        Judgment - Page      6     of       10
DEFENDANT: JONATHON M. COLESON
CASE NUMBER: 4:06CR40004-006-JPG

                                                       SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A    CS( Lump sum payment of $                               due immediately, balance due

                 not later than                                  ,Or
                 in accordance         C] C,          C] D,        E, or     B ( F below; or
 B         Payment to begin immediately (may be combined with              C] C,        D, or       F below); or

 C         Payment inequal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

 D         Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E         Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    @f   Special instructions regarding the payment of criminal monetary penalties:
            While on supervised release, the defendant shall make monthly payments in the amount of $10.00 or ten percent
            of net monthly income, whichever is greater toward his fine.




Unless the court has express1 ordered otherwise,if this judgment imposes imprisonment, a ent of criminalmonetarypenalties is due durin
imprisonment. All cmninarmoneta penalties, except those payments made througR t g ~ e d e r a Bureau
                                                                                                   l     of Prisons' Inmate ~ i n a n c i g
Responsibility Program, are made to x e clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant's interest in the following property to the United States:




                                                         1
Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, ( 6 ) community restitution, (7) pena ties, and (8) costs, including cost of prosecution and court costs.
